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                        EXHIBIT A
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                                 COMMONWEALTH OF KENTUCKY
                                    PERRY CIRCUIT COURT



     APPALACHIAN REGIONAL
     HEALTHCARE, INC.                            CASE NO. 18-CI-00512

     Plaintiff,                                  AGREED ORDER FOR
     v.                                          EXTENSION OF TIME

     PURDUE PHARMA L.P.; PURDUE
     PHARMA, INC.; THE PURDUE
     FREDERICK COMPANY, INC.;
     NORAMCO, INC; AMNEAL
     PHARMACEUTICALS, LLC; TEVA
     PHARMACEUTICAL INDUSTRIES,
     LTD; TEVA PHARMACEUTICALS USA,
     INC.; CEPHALON, INC.; JOHNSON &
     JOHNSON; ORTHO-MCNEIL-JANSSEN
     PHARMACEUTICALS, INC. n/k/a
     JANSSEN PHARMACEUTICALS, INC.;
     JANSSEN PHARMACEUTICA, INC.;
     ABBOTT LABORATORIES; ABBOTT
     LABORATORIES, INC.; DEPOMED,
     INC.; ENDO HEALTH SOLUTIONS,
     INC.; ENDO PHARMACEUTICALS,
     INC.; MALLINCKRODT, LLC; INSYS
     THERAPEUTICS, INC.;
     MALLINCKRODT PLC; SPECGX;
     ALLERGAN PLC f/k/a ACTAVIS PLS;
     WATSON PHARMACEUTICALS, INC.;
     ACTAVIS LLC; ACTAVIS PHARMA,
     INC. f/k/a WATSON PHARMA. INC.;
     WATSON LABORATORIES, INC.;
     ANDA, INC.; H.D. SMITH, LLC f/k/a
     H.D. SMITH WHOLESALE DRUG CO.;
     HENRY SCHEIN, INC.;
     AMERISOURCEBERGEN DRUG
     CORPORATION; RICHIE
     PHARMACAL CO.; CARDINAL
                                                                                                          TD : 000001 of 000012




     HEALTH, INC.; ACE CLINIQUE OF
     MEDICINE, LLC; THE RECOVERY
     CENTER, LLC; and DOES 1-100.

     Defendants.



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     By agreement of the Defendants listed below, by counsel, and Plaintiff Appalachian Regional

     Healthcare, by counsel, and the Court being sufficiently advised;

     IT IS HEREBY ORDERED that the below listed Defendants shall have through March 22, 2019

     within which to answer, move, or otherwise serve a response to Plaintiff’s Complaint.



     DATED THIS ______ DAY OF ____________, 2019.



                                          ____________________________________
                                          JUDGE, PERRY CIRCUIT COURT

     Have Seen and Agree:

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     * denotes national counsel who will seek pro       Specially appearing for Mallinckrodt PLC
     hac vice admission                                 * denotes pro hac vice application to be
                                                        submitted

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                                                            Mallinckrodt plc, an Irish company, disputes that
     Ortho-McNeil-Janssen Pharmaceuticals,
                                                                                                                  TD : 000004 of 000012



                                                        it was properly served but nonetheless agrees to an
     Inc. n/k/a Janssen Pharmaceuticals, Inc.;          extension and expressly reserves all available
     and Janssen Pharmaceutica, Inc. n/k/a              defenses, including but not limited to lack of personal
     Janssen Pharmaceuticals, Inc.                      jurisdiction and service of process.
     * pro hac vice application forthcoming

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     Counsel for Allergan PLC f/k/a Actavis PLC                    Ltd., Teva Pharmaceuticals USA, Inc.,
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     f/k/a Watson Pharmaceuticals, Inc.                            Watson Pharma, Inc., Actavis LLC and
     * denotes national counsel who will seek pro                  Watson Laboratories, Inc.
     hac vice admission
                                                                   * denotes national counsel who will seek pro
                                                                   hac vice admission




                                                                            3
                                                                               Teva Pharmaceutical Industries Ltd., an
                                                                   Israeli company, Teva Pharmaceuticals USA, Inc.,
              2
                Allergan plc f/k/a Actavis plc and Allergan        Cephalon, Inc., Actavis Pharma, Inc. f/k/a Watson
                                                                                                                             TD : 000005 of 000012



     Finance, LLC f/k/a Actavis, Inc. f/k/a Watson                 Pharma, Inc., Actavis LLC and Watson Laboratories,
     Pharmaceuticals, Inc. dispute that they have been             Inc. dispute that they have been served but
     served but nonetheless agree to an extension and              nonetheless agree to an extension and expressly
     expressly reserve all available defenses, including but       reserve all available defenses, including but not
     not limited to lack of personal jurisdiction and              limited to lack of personal jurisdiction and service of
     service of process.                                           process.

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                                                                                                       TD : 000010 of 000012




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             Pharmaceuticals, Inc.; and Janssen
             Pharmaceutica, Inc. n/k/a Janssen
             Pharmaceuticals, Inc.
             * pro hac vice application
             forthcoming


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     Martin L. Roth *
                                                                                                       TD : 000011 of 000012




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Tendered           18-CI-00512    02/06/2019            Charles Ira Patterson, Perry Circuit Clerk
